                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                                      FILED IN PEN COURT
                                 NO. 5:20-CR-481-lFL
                                                     ON     q er} .Jr.QZ
                                                                           Peter A. Moore, Jr.; Cler
                                                                           US District Court
 UNITED STATES OF AMERICA                          )                      Eastern District of NC
                                                   )
         v.                                        )            ORDER TO SURRENDER
                                                   )
 BRENT BREWBAKER                                   )


The defendant in the above-entitled action having been sentenced to the custody of the U.S. Bureau of
Prisons and having requested in open court a postponement of the commencement of the sentence
heretofore imposed, it is now ORDERED:

The defendant, Brent Brewbaker, surrender to the U.S. Bureau of Prisons by reporting:

         D to the U.S. Marshal's Office, Raleigh, NC, as directed.

         D to the U.S. Marshal's Office, Raleigh, NC, by _ _ _ _a.m./p.m. on


         D to the designated institution before _ _ _ a.m./p.m. on _ _ _ _ _ _ __

         ~    when otherwise notified b.)7 the court or the U.S. Marshal's Service to report, but not
              sooner than     9'0 d a~ S                     .

As a condition of the defendant's release, the defendant shall continue to report to the Pretrial Services
Office or, if under supervision of the U.S. Probation Office, to the office in the manner and at such
times as directed.

 9/Cef /1o2Z
 D.ATE ,                                           LOUISE W. FLANAGAN
                                                   United States District Judge

ACKNOWLEDGMENT:

I acknowledge receipt of a copy of the foregoing Order and agree to report as directed therein. I
understand that if I fail to do so, I may be cited for Contempt of Court and if convicted of Contempt
may be punished by imprisonment or fine or both in addition to the sentence already imposed in my
case.




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